 

AO 106 (`Rev 04/10) App|ieatioo for a Search Wamnt

UNITED STATES DISTRICT COURT

for the
_ Eastem District of W1sconsm

In the Matter of the Search of:

1834 N. 39th St., Milwaukee, WI, the upper unit of a two
family duplex. The residence is off white/cream in color
with brown window trim and a tan roof. The numbers
“1834" are black in color and immediately adjacent to the
northern most front door which faces west.

CaseNo. 18"'/7‘ 3/

 

v`/`/`/`/`/

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the govemment, request a search warrant and state under penalty-of
perjury that I have reason to believe that on the following person or property:

See Attachment A

located in the Eastem District of Wisconsin, there is now concealed:
See Attachment B

The basis for the search under Fed. R. Crim P. 41(c) is:
` E evidence of a crime;
1 l:l contraband, fruits of crime, or other items illegally possessed;
|:l property designed for use, intended for use, or used in committing'a crime;
l:l a person to `be arrested or a person who is unlawfully restrained.

The search is related to violations of; Title 18, United States Code, Section 922(a)(l)(A)

The application is based on these facts: See attached affidavit

l:| Delayed notice of days (give exact ending date if more than 3`0 days: l is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached she

'7

 

Applicant ’s signature

. ATl-` Agent Andrew Elmer
| » Prz'ntedName and Title

1 Sworn to before me and signed in my presence: '

Date:

 

§ City and State:Milwauk Wis n in
} aSe : -mj- -DE.]

 

 

 

AFFIDAVIT IN SUPPORT OF
AN APPLICATION FOR A SEARCH WARRANT

I, Andrew Elmer, being first duly sworn, hereby depose and state as follows:
INTRODUCTION AND AGENT BACKGROUND

1. I make this affidavit in support of an application under Rule 41 of the
Federal Rules of Criminal Procedure for a search Warrant authorizing the examination
of property, a residential dwelling described in Attachment A, and the extraction from
that property of evidence described in Attachment B.

2.' That affiant is a federal law enforcement officer With the Bureau of
Alcohol, Tobacco, Firearms and Explosives (ATF) currently assigned to the ATF
Milwaukee Field Office, Group III.

3; That affiant has Worked full-time as a law enforcement officer for the past
twelve years. That affiant has completed the Federal Law Enforcement Training Center,
Criminal lnvestigator Basic Training' and the ATF National Academy, Special Agent
Basic Training. The affiant has additionally had a variety of variety of formal, informal
and on the job training in the investigation of firearms trafficking; that the affiant has
conducted many firearms and firearms trafficking investigation; that affiant has Worked
With numerous confidential informants (CI) during criminal investigation at various
locations throughout the United States including the Milwaukee area; that affiant has
participated in the execution of numerous search Warrants in Which firearms,
ammunition and records related to firearms acquisition and disposition Were seized;
that affiant is familiar With the street name(s) of firearms and firearm related topics; that
affiant is familiar With methods to obtain firearms and manners commonly used to

conceal firearms transactions

Case 2:18-mj-00031-DE.] Filed 02/23/18 Page 2 of 10 Document 1

 

 

4. The facts in this affidavit come from my personal observations, my

training and experience, and information obtained from other investigators and
witnesses. This affidavit is intended to show merely that there is sufficient probable
cause for the requested warrant and does not set forth all Of my knowledge about this
matter.
IDENTIFICATION OF PREMISE TO BE SEARCHED

5. That affiant is requesting permission to execute a search warrant at 1834
N. 39th St., Milwaukee; WI, the upper unit of a two family duplex. The residence is off
white/ cream in color with brown window trim and a tan roof. The numbers ”1834" are
black in color and immediately adjacent to the northern most front door which faces
west; the building is located in the City of Milwaukee, County of Milwaukee, Eastern
District of WI.

6. The applied-for warrant would authorize the search and recovery Of
evidence particularly described in Attachment B.

PROBABLE cAUsE

7. That affiant's application for a search warrant is based, in part, upon
Violations of 18 U.S.C 922(a)(l)(A) (engaging in a firearms business without a license)
regarding Thomas CALDWELL (White Male, Date of Birth: 1 / 22 / 1950) and Ron ]ONES
(Black Male, Date of Birth: 03/ 04 / 80).

8. That affiant is aware that the ATF Madison, WI Field Office has had an
open investigation into illegal sale of firearms without a license in violation of 18 U.S.C
922(a)(l)(A) by CALDWELL Since November of 2017. The ATF Madison Field Office

had also previously served CALDWELL with a ”Warning Notice of Unlicensed

Case 2:18-mj-00031-DE.] Filed 02/23/18 Page 3 of 10 Document 1

 

 

 

Firearms Dealing in Violation of Federal Law” letter on 12/15/2015. CALDWELL

signed acknowledgement of the receipt of the warning notice on 12 / 15 / 15 as served by
ATF Special Agent Anthony Rotunno. On November 1, 2017, SA Michael Klemundt
contacted ATF Industry Operations Investigator (IOI) Philip Dziki. IOI queried the ATF
National Licensing Database to determine if CALDWELL was a licensed firearms
dealer. The results of the query were negative for a federal firearms license. .

9. Affiant queried the ATF firearm tracing database ”eTrace” and Searched
the name Thomas CALDWELL with DOB 1/22/1950. CALDWELL was listed as the
purchaser of firearms recovered and traced through ATF on six (6) separate occasions
between March of 2014 and September of 2017. The aforementioned traces involving
CALDWELL included some traces with very Short ”Time to Crime” (time between the
date of purchase and recovery) timeframes.

10. One firearm connected to CALDWELL, a Glock handgun with serial
number RHL631, was used on 2/13/18 by a felon to murder Chicago Police
Department Commander Paul R. Bauer in Chicago, Illinois. The original purchaser of
the Glock handgun with serial number RHL631 Said that he sold that gun to
CALDWELL in March 2015 for around $350.

11. On 2/ 14 / 18, ATF TFO Conway interviewed CALDWELL at his residence
located at 4549 Martha Lane, Madison, WI regarding the Sale of Glock handgun with
serial number RHL631.

12. Upon telling CALDWELL that he wanted to question CALDWELL
regarding a Glock handgun with Serial number RHL631, CALDWELL eventually Said

that he probably sold the firearm to ”I<evin Sweepee” around April 2017. CALDWELL

Case 2:18-mj-00031-DE.] Filed 02/23/18 Page 4 of 10 Document 1

 

 

also stated that he knew the individual to use the name ”Ron.” CALDWELL

subsequently identified ”Kevin Sweepee” as Ron L. ]ONES (Male, Black, DOB:
5/28/1974). CALDWELL explained that he had sold at least fifteen (15) firearms to
]ONES in the past five (5) years and confirmed he had sold ]ONES Glock handgun or
handguns previously. CALDWELL was shown Wisconsin Driver’s License photograph
of ]ONES (WI DL # ]520-7327-4188-06, photo date: 9/ 8 / 16), and CALDWELL confirmed
that the person in the photograph Was the individual that he knew as ”Ron” and ”Kevin
Sweepee.” CALDWELL confirmed that this was the same individual that he had sold
multiple firearms to. CALDWELL additionally provided telephone number 414-406-
3905 for ]ONES. CALDWELL explained that he originally met ]ONES through a firearm
sale on the website WWW.ARMSLIST.COM. CALDWELL additionally allowed TFO
Conway to review approximately seven (7) to eight (8) notebook ledgers containing
information about the sales of firearms. TFO Conway estimated that there were at least
one hundred (100) gun sales outlined in the ledgers, which appeared to date back to
2015. .

13. ATF Special Agent (SA) Thomas Sheehan explained that on 2/14/18, SA
]ustin Hayes, TFO Keith Dodd, and he went to the front door of 1834 N. 39th St.,
Milwaukee, WI in an attempt to contact ]ONES. Upon knocking on the front door, the
door was opened by a male later identified as Ron L. ]ONES (Male, Black, DOB:
5/28/1974): Upon realizing law enforcement officers were at the door, ]ONES closed
the door and refused to reopen it. Agents then observed ]ONES appear on the upper
balcony of the residence. SA Hayes explained that they needed to speak with ”Ron.”

]ONES acknowledged that he was ”Ron” and asked what the agents wanted. Agents

Case 2:18-mj-00031-DE.] Filed 02/23/18 Page 5 of 10 Document 1

 

 

explained that they needed to speak with ]ONES about an investigation involving a

firearm. Agents asked ]ONES if he knew CALDWELL and if ]ONES had bought guns
from him.~ ]ONES responded by asking ”which gun?” ]ONES then told agents that he
would be willing to speak with them the following day on 2/15/18. Prior to leaving the
area, SA Sheehan contacted ]ONES on telephone number 414-406-3905, which had been
provided by CALDWELL. ]ONES answered the cellphone and told SA Sheehan that he
would contact him at approximately 0900 hours on the following day.

14. On 2/15/18, ]ONES contacted SA Sheehan just before 0900 hours and
agreed to meet agents at Milwaukee Police Department District 3, located at 2333 N.
49th St., Milwaukee, ]ONES arrived at approximately 1000 hours and provided a WI ID
in the name of Ron ]ONES to the desk at the police district. ]ONES then introduced
himself to SA Sheehan as ”Ron.” ]ONES admitted to purchasing and trading other
items for firearms from CALDWELL. ]ONES described CALDWELL’s residence to SA
Sheehan, and SA Sheehan confirmed the description matched his recollection of
CALDWELL’S residence from when he viewed it on 2/14/18. ]ONES admitted to
having obtained at least one (1) Glock handgun from CALDWELL, but he stated that he
did not remember the model or caliber of the firearm. Regarding the Glock handgun,
]ONES stated that he likely sold the firearm on ”armslist” (website
WWW.ARMSLIST.COM). ]ONES explained that he did not remember how many
firearms he had purchased and / or sold with CALDWELL. ]ONES explained that he
and CALDWELL spoke telephonically approximately three times a month regarding
firearms. ]ONES also confirmed that he and CALDWELL had met via the website

WWW.ARMSLIST.COM.

Case 2:18-mj-00031-DE.] Filed 02/23/18 Page 6 of 10 Document 1

 

 

15. On February 15, 2018, the affiant reviewed information obtained from a

public record aggregating company commonly utilized by law enforcement related to
Ron L. ]ONES. Address information reviewed for Ron ]ONES indicated his current
address to be 1834 N. 39th St., Milwaukee, WI.

16. That affiant knows through the investigation that ]ONES and
CALDWELL have been in telephone communication utilizing a cellular telephone to
communicate regarding the purchase of firearms.

17. There is probable cause that in the residence located at 1834 N. 39th St.,
Milwaukee, WI there is evidence of violations of 18 U.S.C. 922(a)(1)(A). CALDWELL
has admitted to selling multiple firearms, including several to ]ONES. CALDWELL is
not have a Federal Firearms License. ATF believes that CALDWELL's repetitive
firearm-related activity appears to make him an unlicensed dealer in firearms, a
violation of 18 U.S.C 922(a)(l)(A). In particular one of the guns suspected of being
illegally sold by CALDWELL and purchased by ]ONES is a Glock handgun with serial
number RHL631. Sometime after ]ONES had possession of the firearm, it was
transferred to a felon and used in the homicide of Commander Bauer. There is probable
cause that ]ONES has evidence of violations of 18 U.S.C. 922(a)(l)(A) regarding that
firearm and other firearms in the residence located at 1834 N. 39th St., Milwaukee, WI.

18. That affiant knows that persons who purchase firearms commonly
maintain those firearms, including but not limited to handguns, pistols, revolvers, rifles,
Shotguns, machine guns and other weapons, as well as records 0r receipts pertaining to
firearms and ammunition; at their place of residence and / or other locations where they

exercise dominion and control.

Case 2:18-mj-00031-DE.] Filed 02/23/18 Page 7 of 10 Document 1

 

 

19. That based upon affiant's training and experience, affiant knows that the

execution of a search warrant usually results in the seizure of such items of personal
property as utility bills,' canceled mail envelopes, bank statements, keys, photographs,
videotapes, and other items or documents which establish the identities of persons in
control of the premises.

20. That based upon affiant's training and experience, affiant knows that
individuals purchasing firearms routinely keep call logs and/ or text messages
regarding the purchase.

21. That affiant knows that it is common for firearms purchasers to maintain
records, receipts, notes, ledgers, receipts relating to the transportation, ordering and
purchase of firearms and that such records are typically kept where the purchaser
would have ready access to them.

22. That affiant knows that firearm possessors and traffickers often take or
cause to be taken photographs and other visual depiction’s of themselves, their
associates, their property and their firearms, and typically keep and maintain these
photographs in their residences and other locations where they exercise dominion and
control.

23. That affiant knows from his experience in firearms related investigations
that persons involved in the possession of firearms will commonly conceal firearms,
ammunition and other records relating to their purchase in places other than the
dwelling itself to include various vehicles parked on or near the curtilage, garages,

storage sheds and dog houses.

Case 2:18-mj-00031-DE.] Filed 02/23/18 Page 8 of 10 Document 1

 

ATTACHMENT A
Property to Be Searched

That affiant is requesting permission to execute a search warrant at 1834 N. 39th
St., Milwaukee, WI, the upper unit of a two family duplex. The residence is off
white/ cream in color with brown window trim and a tan roof. The numbers ”1834” are
black in color and immediately adjacent to the northern most front door which faces
West; the building is located in the City of Milwaukee, County of Milwaukee, Eastern

District of WI.

Case 2:18-mj-00031-DE.] Filed 02/23/18 Page 9 of 10 Document 1

 

 

ATTACHMENT B
Particular Things to be Seized

Firearms, documents or information related to the purchase and/ or sale of
firearms, photographs related to firearms, documentation establishing the identity of
the individuals in control of the above residence, cellphone connected to 414-406-3905,
media storage devices that may hold documentation regarding firearm
. purchases / sales, any and all financial records connected to the purchase / sale of

firearms, and any correspondence between ]ONES and CALDWELL

Case 2:18-mj-00031-DE.] Filed 02/23/18 Page 10 of 10 Document 1

